                                                     IN THE CIRCUIT COURT OF THE
                                                     NINTH JUDICIAL CIRCUIT IN AND
                                                     FOR ORANGE COUNTY FLORIDA

                                                     Case No:

 JAMES SPALDING,

                     Plaintiff,

 v.

 ANGELA SEDA BORRERO,

                     Defendant.


                                                 /


                                              COMPLAINT
        Plaintiff, JAMES SPALDING, by and through the undersigned counsel hereby sues

Defendant, ANGELA SEDA BORRERO, and alleges:


        l.       This cause of action    is   for damages in excess of Fifteen Thousand Dollars

($15,000.00), exclusive of attorneys’ fees and costs.

       Di        At all times material to this cause of action the Plaintiff, JAMES SPALDING, was

a resident   of Lake County, Florida.

       5:        Upon information and belief, at all times material hereto, Defendant, ANGELA

SEDA BORRERO, wasa resident of Orange County, Florida.

       4.        The acts and omissions that form the basis for this cause of action all occurred in

Orange County, Florida.


                                              BACKGROUND

       3         On October 1, 2018, Plaintiff, JAMES SPALDING was operating his 2007 Harley-

Davidson Dyna motorcycle traveling southbound on CR 435 in Apopka, Orange County, Florida.



                                                                                           Exhibit G

                                                                                            CF 14
        6.      At that time and place, Defendant, ANGELA SEDA BORRERO, was operating a

 motor vehicle traveling northbound on CR 435 in Apopka, Orange County, Florida.

        a       At that time and place, Defendant, ANGELA SEDA BORRERO, negligently

 operated and/or maintained her vehicle causing it to collide with Plaintiffs vehicle.


                                               CounTI

        8.      Plaintiff, JAMES SPALDING, re-alleges paragraphs 1-7 as if fully set forth herein.

        Y.      Defendant, ANGELA SEDA BORRERO, had a duty to operate her vehicle in a

safe, non-negligent manner.


        10.     Defendant,    ANGELA SEDA BORRERO,               breached   this   duty as alleged in

paragraphs 5-7 above.


        11.     As a direct and proximate result of Defendant’s negligence, Plaintiff, JAMES

SPALDING, suffered bodily injury and resulting pain and suffering, disability, disfigurement,

mental anguish, loss of capacity for enjoyment of life, expense of hospitalization, medical and


nursing care and treatment, loss of earnings and loss of ability to earn money.        The losses are

permanent and continuing and Plaintiff will suffer the losses into the future.


        WHEREFORE Plaintiff, JAMES SPALDING,                   sues   Defendant,    ANGELA SEDA

BORRERO, for compensatory damages in excess of FIFTEEN THOUSAND DOLLARS

($15,000), exclusive of interest and costs, and further demands trial by jury on all issues so triable.

                                              Count IT

        12.    Plaintiff, JAMES SPALDING, re-alleges paragraphs 1-7 as if fully set forth herein.

       jes     Defendant, ANGELA SEDA BORRERO, had a duty to operate her vehicle in a

safe, non-negligent manner.




                                                                                               CF 15
        14.       Defendant,    ANGELA SEDA BORRERO,               breached this duty as alleged in


paragraphs 5-7 above.


        15.       As a direct and proximate result of Defendant, ANGELA SEDA BORRERO’s

negligence, Plaintiff, JAMES SPALDING, incurred unreimbursed damages to his motorcycle in

the amount of $9,627.52, including the total value of the motorcycle, the aftermarket parts installed


on the motorcycle, and helmet.

        16.       As   a   further   direct and proximate result    of Defendant, ANGELA SEDA

BORRERO’s negligence, Plaintiff, JAMES SPALDING also incurred expenses from loss of use

of the vehicle.

       WHEREFORE             Plaintiff,   JAMES SPALDING,       sues   Defendant,   ANGELA SEDA

BORRERO, for compensatory damages together with interest from the date of this crash, costs,

and further demands trial by jury on all issues so triable.


       Dated this 12th day of November 2018.




                                                 5/ Paul C. Perkins, Jr.
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